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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


JULIE AMANDA TILTON,

       Plaintiff,

v.                                                   Case No. 8:05-cv-692-T-30TGW

PLAYBOY ENTERTAINMENT GROUP,
INC., et. al,

      Defendants.
_____________________________________/

                                           ORDER

       THIS CAUSE comes before the Court upon Plaintiff’s Unopposed Motion to Add

New Parties and Memorandum of Law in Support (Dkt. #43) and Playboy Defendants’

Memorandum in Opposition to Plaintiff’s Unopposed Motion to Add New Parties (Dkt. #45).

The Court, having considered the motion, response, memoranda, and being otherwise advised

in the premises, finds that Plaintiff’s motion should be granted.

       Nevertheless, the Court notes that this case is related to other pending cases currently

before this Court (Breitfeller et al. v. Playboy Entertainment Group, et al. - Case No. 8:05-

cv-405-T-30TGW, and Tamika Badillo, et al. v. Playboy Entertainment Group, et al. - Case

No. 8:04-cv-591-T-30TBM) in which this Court has already personally admonished

Plaintiffs’ counsel on two separate occasions that Rule 11 Sanctions would be imposed

against Plaintiffs and Plaintiffs’ counsel, if Plaintiffs continue to pursue parties against which

they have no legitimate basis for liability in these lawsuits. In spite of this Court’s clear and
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repeated warnings, Plaintiff continues to add new parties to this lawsuit. Since none of the

Defendants filed an answer in these proceedings prior to the filing of the Amended

Complaint, the Court will allow Plaintiff to bring in new parties under the express limitation

that Plaintiff should not bring in a party where there is no legitimate basis to do so.1 If this

Court finds that a new party has been added without a legitimate basis for liability against

such party, this Court, upon a motion by any party or upon this Court’s own initiative, may

impose Rule 11 Sanctions against Plaintiff and Plaintiff’s counsel. Plaintiff and Plaintiff’s

counsel have again been given fair warning by this Court.

          It is therefore ORDERED AND ADJUDGED that:

          1.        Plaintiff’s Unopposed Motion to Add New Parties and Memorandum of Law

                    in Support (Dkt. #43) is GRANTED.

          DONE and ORDERED in Tampa, Florida on July 20, 2006.




Copies furnished to:
Counsel/Parties of Record
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          1
         It appears that Plaintiff may face statute of limitation problems in relation to the addition of some
of the new parties, but that will be resolved at a later date.


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